                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA,                         )
                                                    )
                                 Plaintiff,         )
                                                    )
                          v.                        )                 No. 3:19-CR-187-TAV-HBG
                                                    )
  DONALD LAMONT WILLIAMS,                           )
  CAMMEA P. DURFIELD,                               )
  JEFFREY DOTSON, and                               )
  FREDERICK LEON HINES,                             )
                                                    )
                                 Defendants.        )

                                  MEMORANDUM AND ORDER

           All pretrial motions in this case have been referred to the undersigned pursuant to 28

  U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

  District Court as may be appropriate.        The Court held a telephonic arraignment on the

  Superseding Indictment for Defendants Cammea Durfield and Jeffrey Dotson. 1 Assistant United

  States Attorney Brent Nelson Jones participated by telephone on behalf of the Government. The

  following defense counsel appeared by telephone to represent the Defendants: Attorney R. Deno

  Cole for Defendant Cammea Durfield; Attorney John Christopher Barnes for Defendant Jeffrey

  Dotson; and Attorney Robin H. Kyle for Defendant Frederick Hines. Defendants Durfield [Doc.

  120] and Dotson [Doc. 118] filed waivers of appearance, 2 and Defendant Hines, who was

  arraigned on the Superseding Indictment on September 9, 2020, was excused from this hearing.




  1
    Counsel for Defendant Lamont Williams did not attend the hearing and will reschedule the
  arraignment for Defendant Williams.
  2
      Defendant Williams also filed a waiver of appearance at arraignment [Doc. 119].


Case 3:19-cr-00187-TAV-HBG Document 131 Filed 09/16/20 Page 1 of 3 PageID #: 541
         Following the arraignment, Attorney Barnes moved the Court to continue the September

  22, 2020 trial date in this case. He stated that the changes to the charges in the Superseding

  Indictment could affect the mandatory minimum sentence for his client and may influence his

  client’s decision to proceed to trial. Additionally, Mr. Barnes stated that Defendant Dotson

  recently tested positive for the COVID-19 virus and is not able to meet with him to prepare for

  trial. For these reasons, Mr. Barnes stated that additional time is needed and a trial continuance

  is appropriate under the Speedy Trial Act. AUSA Jones stated that the Government did not

  oppose the requested trial continuance. Counsel for Defendants Durfield and Hines took no

  position on the motion. The parties agreed on a new trial date of January 25, 2021.

         The Court finds Defendant Dotson’s oral motion to continue the trial to be unopposed 3

  and well taken. It also finds that the ends of justice served by continuing the trial outweigh the

  interest of the Defendants and the public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). In light of

  the changes to the charges in the Superseding Indictment, defense counsel need additional time

  to prepare the case for trial.     Additionally, restrictions relating to COVID-19, including

  Defendant Dotson recently contracting the virus, have slowed trial preparations in this case. See

  18 U.S.C. § 3161(h)(4) (excluding time during which a defendant is physically unable to stand

  trial). The Court concludes that continuing the trial for four months is appropriate to give

  counsel the “reasonable time necessary for effective preparation” even accounting for counsels’

  due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

         Defendant Dotson’s oral motion to continue the trial is GRANTED, and the trial of this

  matter is reset to January 25, 2021. The Court finds that all the time between the September 14,

  3
   Counsel for Defendant Donald Williams informed Chambers after the hearing that Defendant
  Williams did not object to the trial continuance.
                                                  2

Case 3:19-cr-00187-TAV-HBG Document 131 Filed 09/16/20 Page 2 of 3 PageID #: 542
  2020 hearing and the new trial date of January 25, 2021, is fully excludable time under the

  Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(4) & -(7)(A)-(B).

  The Court also set a new schedule in this case, which is stated below.

         Accordingly, it is ORDERED:

            (1) Defendant Jeffrey Dotson’s oral motion to continue the trial is
                GRANTED;

            (2) The trial of this case is reset to commence on January 25, 2021, at
                9:00 a.m., before the Honorable Thomas A. Varlan, United States
                District Judge;

            (3) All time between the September 14, 2020 hearing and the new
                trial date of January 25, 2021, is fully excludable time under the
                Speedy Trial Act for the reasons set forth herein;

            (4) The Court will hold a final pretrial conference on January 11,
                2021, at 11:00 a.m. This date is also the new deadline for filing
                motions in limine, concluding plea negotiations and filing plea
                agreements in the record, and providing reciprocal discovery; and

            (5) Requests for special jury instructions shall be filed no later than
                January 15, 2021, and shall be supported by citations to authority
                pursuant to Local Rule 7.4.

         IT IS SO ORDERED.

                                               ENTER:


                                               United States Magistrate Judge




                                                  3

Case 3:19-cr-00187-TAV-HBG Document 131 Filed 09/16/20 Page 3 of 3 PageID #: 543
